Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 1 of 13




    EXHIBIT 1
             Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 2 of 13



 1    Joseph R. Saveri (State Bar No. 130064)
      Cadio Zirpoli (State Bar No. 179108)
 2    Christopher K.L. Young (State Bar No. 318371)
      Louis A. Kessler (State Bar No. 243703)
 3
      Elissa A. Buchanan (State Bar No. 249996)
 4    Travis Manfredi (State Bar No. 281779)
      JOSEPH SAVERI LAW FIRM, LLP
 5    601 California Street, Suite 1000
      San Francisco, California 94108
 6    Telephone:     (415) 500-6800
      Facsimile:     (415) 395-9940
 7
      Email:         jsaveri@saverilawfirm.com
 8                   czirpoli@saverilawfirm.com
                     cyoung@saverilawfirm.com
 9                   lkessler@saverilawfirm.com
                     eabuchanan@saverilawfirm.com
10                   tmanfredi@saverilawfirm.com
11
      Counsel for Individual and Representative
12    Plaintiffs and the Proposed Class
13                                    UNITED STATES DISTRICT COURT
14                                  NORTHERN DISTRICT OF CALIFORNIA
                                           OAKLAND DIVISION
15
                                                              Case Nos. 4:22-cv-06823-JST
16   J. DOE 1, et al.,                                                  4:22-cv-07074-JST
17             Individual and Representative Plaintiffs,
             v.                                               PLAINTIFFS’ FIRST SET OF
18
     GITHUB, INC., et al.,                                    INTERROGATORIES TO DEFENDANTS
19                                                            OPENAI, INC.; OPENAI, L.P.; OPENAI
                                            Defendants.       OPCO, L.L.C.; OPENAI GP, L.L.C.;
20                                                            OPENAI STARTUP FUND GP I, L.L.C.;
                                                              OPENAI STARTUP FUND I, L.P.; AND
21                                                            OPENAI STARTUP FUND
                                                              MANAGEMENT, LLC
22

23

24

25

26

27

28

                                                                                Case No. 4:22-cv-06823-JST
                         PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
            Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 3 of 13




      PROPOUNDING PARTIES:                               J. Doe 1
 1

 2    RESPONDING PARTIES:                                OpenAI, Inc.
                                                         OpenAI, L.P.
 3                                                       OpenAI OpCo., L.L.C.
                                                         OpenAI GP, L.L.C.
 4                                                       OpenAI Startup Fund I, L.P.
                                                         OpenAI Startup Fund GP I, L.L.C.
 5
                                                         OpenAI Startup Fund Management, LLC
 6
      SET NUMBER                                         One
 7

 8
     To Defendant and their attorneys of record:
 9
            Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff J. Doe 1
10
     (“Plaintiff”) by and through their undersigned counsel, hereby requests that Defendants OpenAI,
11
     Inc.; OpenAI GP, L.L.C.; OpenAI OpCo, L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI
12
     Startup Fund I, L.P.; and OpenAI Startup Fund Management, LLC respond to Plaintiff’s First Set
13
     of Interrogatories (the “Interrogatories”), in writing and under oath, within thirty (30) days and in
14
     accordance with the Definitions and Instructions that follow.
15
                                               DEFINITIONS
16
            As used herein, the following words, terms, and phrases—whether singular or plural, or
17
     in an alternate verb tense—shall have the meanings ascribed below. Defined terms may not be
18
     capitalized or made uppercase. The given definitions apply even if a term in question is not
19
     capitalized or made uppercase. No waiver of a definition is implied by the use of a defined term
20
     in a non-capitalized or lowercase form:
21
            1.      “ALL,” “OR,” and “AND” should be understood to include and encompass
22
     “any”; “or” should be understood to include and encompass “and”; and “and” should be
23
     understood to include and encompass “or.”
24
            2.      “COMMUNICATIONS” means oral or written communications of any kind,
25
     communicated directly or indirectly, INCLUDING, without limitation inquiries, complaints,
26
     discussions, conversations, negotiations, agreements, meetings, interviews, telephone
27
     conversations, letters, correspondences, memoranda, notes, telegrams, facsimiles, electronic mail
28
                                                         1                  Case No. 4:22-cv-06823-JST
                      PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
             Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 4 of 13




 1   (e-mail) messages and attachments, instant or direct messages (including SMS messages, text

 2   messages, Apple messages, Slack messages, Teams messages), memoranda, documents, writings,

 3   or other forms of communications. The term “COMMUNICATIONS” INCLUDES instances

 4   where one party disseminates information that the other party receives but does not respond to.

 5           3.      “COMPLAINT” refers to the operative complaint at the time documents are

 6   produced in response to these requests. At the time of service, the currently operative

 7   COMPLAINT is Plaintiffs’ First Amended Complaint. ECF No. 93.

 8           4.      “CONCERNING” refers to and includes “constituting,” “evidencing,”

 9   “supporting,” “regarding,” “mentioning,” “reflecting,” “concerning,” “relating to,” “referring

10   to,” “pertaining to,” “alluding to,” “responding to,” “proving,” “discussing,” “assessing,”

11   “disproving,” “connected with,” “commenting on,” “about,” “showing,” “describing,” and/or

12   logically or factually dealing with the matter described in the request in which the term appears.

13           5.      “COPILOT” refers to the any version of the GitHub Copilot product.

14           6.      “CODEX” refers to the any version of the OpenAI Codex product, including any

15   version integrated into COPILOT.

16           7.      “DEFENDANTS” means ANY Defendants set forth in the COMPLAINT

17   INCLUDING their employees, agents, attorneys, accountants, representatives, predecessors or

18   successors-in-interest, any corporation or partnership under its direction, or any other person or

19   entity acting on its behalf or under its control.

20           8.      “DOCUMENT” is defined as a “writing” under Evidence Code section 250:

21           Writing means handwriting, typewriting, printing, photostating, photographing,

22   photocopying, transmitting by electronic mail or facsimile, and every other means of recording

23   upon any tangible thing, any form of communication or representation, INCLUDING letters,

24   words, pictures, sounds, or symbols, or combinations thereof, and any record thereby created,

25   regardless of the manner in which the record has been stored.

26           This INCLUDES:

27                  The originals, drafts and ALL non-identical copies thereof, whether different from

28                   the original by reason of any notation made on such copies or otherwise;
                                                         2                           Case No. 4:22-cv-06823-JST
                       PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
            Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 5 of 13




 1                 Booklets, brochures, pamphlets, circulars, notices, periodicals, papers, contracts,

 2                  agreements, photographs, minutes, memoranda, messages, appraisals, analyses,

 3                  reports, financial calculations and representations, invoices, accounting and diary

 4                  entries, inventory sheets, diaries, appointment books or calendars, teletypes,

 5                  telefaxes, thermafaxes, ledgers, trial balances, correspondence, telegrams, press

 6                  releases, advertisements, notes, working papers, drawings, schedules, tabulations,

 7                  projections, information or programs stored in a computer (whether or not ever

 8                  printed out or displayed), and ALL drafts, alterations, modifications, changes or

 9                  amendments of any of the foregoing;

10                 Graphic or aural representations of any kind, INCLUDING., without limitation,

11                  photographs, microfiche, microfilm, videotapes, recordings, drawing, charts and

12                  motion pictures;

13                 All letters, words, pictures, sounds, or symbols, or combinations thereof stored in

14                  or on any electronic, mechanical, magnetic, or optical device INCLUDING, but

15                  not limited to: (i) computer data storage devices (servers, laptops hard-drives,

16                  flash drives, discs, magnetic cards, and the like), (ii) the internet or “the Cloud”

17                  (such as e-mail, web posts, social media posts, internet pages, etc.), and (iii)

18                  information stored on cell phones.

19          9.      The term “IDENTIFY” as pertains to PERSONS means to describe each

20   PERSON by name, residence address, residence telephone number, occupation, title, business

21   address, and business telephone number. The term “IDENTIFY” as pertains to DOCUMENTS

22   means to state, to the extent known, the date the DOCUMENT bears, if any; the title of the

23   DOCUMENT; the author(s) of the DOCUMENT; the recipient(s) of the DOCUMENT and the

24   present location(s) or custodian of the DOCUMENT.

25          10.     “INCLUDING” is used to provide examples of certain types of information and

26   should not be construed as limiting a request or definition in any way. The terms “INCLUDING”

27   shall be construed as if followed by the phrase “but not limited to.”

28
                                                         3                  Case No. 4:22-cv-06823-JST
                      PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
            Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 6 of 13




 1          11.     “OPENAI” means Defendants OPENAI, INC.; OPENAI, L.P.; OPENAI OPCO,

 2   L.L.C.; OPENAI GP, L.L.C.; OPENAI STARTUP FUND GP I, L.L.C.; OPENAI STARTUP

 3   FUND I, L.P.; AND OPENAI STARTUP FUND MANAGEMENT, LLC, their respective

 4   parents, owners, directors, subsidiaries and any company, business entity or person in which any

 5   of them possess an ownership interest greater than five percent.

 6          12.     “PERSON” means any natural person or any business, legal, or governmental

 7   entity or association.

 8          13.     “RELEVANT PERIOD” includes and encompasses all times relevant to the acts

 9   and failures to act which are relevant to the COMPLAINT, specifically INCLUDING the date

10   YOU first discussed or conceived of COPILOT.

11          14.     “YOU” or “YOUR” refers to and includes the specific Defendant producing

12   documents in response to these Requests, its employees, agents, attorneys, accountants,

13   representatives, predecessors or successors-in-interest, any corporation or partnership under its

14   direction, or any other person or entity acting on its behalf or under its control.

15                                            INSTRUCTIONS

16          Solely for the purpose of these Interrogatories, the following instructions shall apply:

17          1.      Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these

18   Interrogatories shall be deemed to be continuing in nature so that, if You, Your directors, officers,

19   employees, agents, representatives or any person acting on Your behalf, subsequently discover or

20   become aware of information that is responsive to these Interrogatories, You shall make such

21   information available to Plaintiffs within seven (7) days of discovering or becoming aware of

22   such information.

23          2.      Unless otherwise noted herein, the relevant time period of these Interrogatories

24   begins on January 1, 2000, and runs through July 30, 2023 (the “Relevant Period”).

25          3.      Each Interrogatory shall be answered separately and fully in writing under oath,

26   unless it is objected to, in which event the objecting party shall state the reasons for objection

27   and shall answer to the extent the Interrogatory is not objectionable.

28
                                                          4                  Case No. 4:22-cv-06823-JST
                       PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
             Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 7 of 13




 1           4.      The answers are to be signed by the person making them and the objections

 2   signed by the attorney making them.

 3           5.      If the Interrogatory cannot be answered completely, it shall be answered to the

 4   extent possible. If You do not have personal knowledge sufficient to respond fully to an

 5   Interrogatory, You shall so state, but shall make a reasonable and good faith effort to obtain the

 6   information by inquiry to other natural or legal persons or organizations.

 7           6.      If only a part of an Interrogatory is objectionable, the remainder of the

 8   Interrogatory shall be answered. If an objection is made to an Interrogatory or to a part of an

 9   Interrogatory, the specific ground for the objection shall be set forth clearly.

10           7.      If any answer to an Interrogatory, or part thereof, is withheld on a claim of

11   privilege, identify the privilege asserted and state in detail sufficient facts to establish the basis

12   for the privilege. For each interrogatory with respect to which You assert a privilege, state

13   whether the information requested has ever been provided to any governmental entity or any

14   other party other than defendant or its attorneys.

15           8.      If any information requested is withheld based on a claim that such information

16   constitutes attorney work-product, please provide all the information described in Instruction 7

17   and identify the litigation in connection with which the information was obtained and/or

18   prepared.

19           9.      Your answer to each Interrogatory shall identify each individual who supplied

20   information for or participated in the preparation of Your answers to these Interrogatories, and

21   each document to which You referred or upon which You relied in the preparation of Your

22   answers to these Interrogatories.

23

24

25

26

27

28
                                                           5                 Case No. 4:22-cv-06823-JST
                       PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
            Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 8 of 13




 1                                           INTERROGATORIES

 2   INTERROGATORY NO. 1

 3          Identify all Agreements between and among:

 4                  a.         You and Microsoft Corporation;

 5                  b.         You and GitHub; or

 6                  c.         You and directors and officers of Defendants or Related Entities with a

 7                             more than five percent interest held by directors and officers of

 8                             Defendants.

 9   INTERROGATORY NO. 2

10          In order of corporate seniority, identify by name and date all Your past and present

11   directors and officers.

12   INTERROGATORY NO. 3

13          Identify by name all individuals or entities who possess or have possessed stock or

14   ownership interests in You greater than five percent.

15   INTERROGATORY NO. 4

16          In order of corporate seniority, identify by name, job title, and date, all Persons

17   previously and currently responsible for negotiating Your Agreements or with Defendants, or for

18   changes made thereto.

19   INTERROGATORY NO. 5

20          In order of corporate seniority, identify by name, job title, and date, all Persons, including

21   employees from other businesses, contractors, vendors, and other non-employees of Your

22   business, previously and currently responsible for, or having oversight or control over the

23   engineering and development of Copilot and its previous iterations, versions, or forms.

24   INTERROGATORY NO. 6

25          In order of corporate seniority, identify by name, job title, and date, all Persons, including

26   employees from other businesses, contractors, vendors, and other non-employees of Your

27   business, previously and currently responsible for, or having oversight or control over regarding

28   the purchase or sale of any interest in GitHub including any communications or negotiations
                                                         6                         Case No. 4:22-cv-06823-JST
                         PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
            Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 9 of 13




 1   thereof including in regards to financing, whether or not such purchase or sale was

 2   consummated.

 3   INTERROGATORY NO. 7

 4          In order of corporate seniority, identify by name, job title, and date, all Persons, including

 5   employees from other businesses, contractors, vendors, and other non-employees of Your

 6   business, previously and currently responsible for, or having oversight or control over regarding

 7   the purchase or sale of any interest in Microsoft including any communications or negotiations

 8   thereof including in regards to financing, whether or not such purchase or sale was

 9   consummated.

10   INTERROGATORY NO. 8

11          In order of corporate seniority, identify by name, job title, and date, all Persons, including

12   employees from other businesses, contractors, vendors, and other non-employees of Your

13   business, previously and currently responsible for, or having oversight or control over

14   engineering, developing, marketing, or sale of Codex and its previous iterations, versions, or

15   forms, including GPT-3 and GPT-4.

16   INTERROGATORY NO. 9

17          In order of corporate seniority, identify by name, job title, and date, all Persons, including

18   employees from other businesses, contractors, vendors, and other non-employees of Your

19   business, previously and currently responsible for, or having oversight or control over

20   engineering, developing, marketing, or sale of Copilot.

21   INTERROGATORY NO. 6

22          In order of corporate seniority, identify by name, job title, and date, all Persons, including

23   employees from other businesses, contractors, vendors, and other non-employees of Your

24   business, previously and currently responsible for, or having oversight or control over Ethics

25   Teams relating to artificial intelligence ethics including but not limited to Copilot.

26

27

28
                                                          7                  Case No. 4:22-cv-06823-JST
                       PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
           Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 10 of 13




 1   INTERROGATORY NO. 7

 2          Identify all software, databases, or services previously and currently used by You for

 3   maintaining, supervising, managing, analyzing, programming, updating, troubleshooting,

 4   diagnosing, testing or modifying Copilot.

 5   INTERROGATORY NO. 8

 6          List the contact information of Chris Clark, Brad Lightcap, Mateusz Litwin, Benjamin

 7   Mann, Sam McCandlish, Pamela Mishkin, Vedant Misra, Evan Morikawa, Mira Murati, Arvind

 8   Neelakantan, Alex Nichol, Alex Paino, Mikhail Pavlov, Michael Petrov, Matthias Plappert,

 9   Henrique Ponde de Oliveira Pint, Althea Power, Raul Puri, Alec Radford, Aditya Ramesh, Alex

10   Ray, Nick Ryder, Girish Sastry, William Saunders, Pranav Shyam, Eric Sigler, Melanie Subbiah,

11   Felipe Petroski Such, Ilya Sutskever, Jie Tang, Nikolas Tezak, Phillipe Tillet, Jerry Tworek,

12   Peter Welinder, Clemens Winter, Jeffrey Wu, Qiming Yuan, Wojciech Zaremba, Daniel M.

13   Ziegler, and any other individual identified or disclosed in response to any other Interrogatory

14   including their home addresses, email addresses, social media handles, and telephone numbers.

15   INTERROGATORY NO. 9

16          Describe in detail the data You have used, since January 1, 2018, to train or otherwise

17   develop GPT-3, GPT-4, Copilot and Codex, including, for each:

18                  a.       How You obtained the data, e.g., by scraping the data, purchasing it from

19                           third parties, or by other means;

20                  b.       All sources of Data, including any third parties that provided data sets;

21                  c.       To the extent the data was derived from publicly available websites, a list

22                           of all such websites and, for each, the percentage of the data corpus that is

23                           derived from that website;

24                  d.       The categories of content included in the data and the extent to which each

25                           category is represented in the data corpus (i.e., as a percentage of data

26                           used to train the model);

27                  e.       All policies and procedures Related to identifying, assessing, vetting and

28                           selecting sources of data for the model.
                                                          8                    Case No. 4:22-cv-06823-JST
                         PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
           Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 11 of 13




 1   INTERROGATORY NO. 10

 2          Identify all Persons or Related Entities from whom You licensed, purchased or otherwise

 3   obtained training data for Copilot. For each licensor of training data, include the name of such

 4   person(s), date, amount paid, approximate description and size of data licensed, whether it was

 5   used as training data for GPT-3, GPT-4, Codex, Copilot, or some combination.

 6

 7

 8
     Dated: July ൡ൩, ൢൠൢൣ                            By:          /s/ Joseph R. Saveri
 9
                                                                  Joseph R. Saveri
10                                                   Joseph R. Saveri (State Bar No. 130064)
11                                                   Cadio Zirpoli (State Bar No. 179108)
                                                     Christopher K. L. Young (State Bar No. 318371)
12                                                   Louis A. Kessler (State Bar No. 243703)
                                                     Elissa A. Buchanan (State Bar No. 249996)
13                                                   Travis Manfredi (State Bar No. 281779)
                                                     JOSEPH SAVERI LAW FIRM, LLP
14
                                                     601 California Street, Suite 1000
15                                                   San Francisco, California 94108
                                                     Telephone:      (415) 500-6800
16                                                   Facsimile:      (415) 395-9940
                                                     Email:         jsaveri@saverilawfirm.com
17                                                                  czirpoli@saverilawfirm.com
                                                                    cyoung@saverilawfirm.com
18
                                                                    lkessler@saverilawfirm.com
19                                                                  eabuchanan@saverilawfirm.com
                                                                    tmanfredi@saverilawfirm.com
20
                                                     Matthew Butterick (State Bar No. 250953)
21                                                   1920 Hillhurst Avenue, #406
                                                     Los Angeles, CA 90027
22
                                                     Telephone:     (323) 968-2632
23                                                   Facsimile:     (415) 395-9940
                                                     Email:         mb@buttericklaw.com
24
                                                     Counsel for Plaintiﬀs and the Proposed Class
25

26

27

28
                                                        9                   Case No. 4:22-cv-06823-JST
                      PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
            Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 12 of 13




 1                                     CERTIFICATE OF SERVICE

 2         I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business

 3   address is 601 California Street, Suite 1000, San Francisco, California 94108. I am over the age

 4   of eighteen and not a party to this action.

 5      On July 19, 2023, I caused the following documents to be served by email upon the parties

 6   listed on the attached Service List:

 7          PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO DEFENDANTS
            OPENAI, INC.; OPENAI, L.P.; OPENAI OPCO, L.L.C.; OPENAI GP, L.L.C.;
 8
            OPENAI STARTUP FUND GP I, L.L.C.; OPENAI STARTUP FUND I, L.P.; AND
 9          OPENAI STARTUP FUND MANAGEMENT, LLC

10          I declare under penalty of perjury that the foregoing is true and correct. Executed July 19,

11   2023, at San Francisco, California.

12                                                    By:       /s/ Amara Getzell
13                                                                  Amara Getzell

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       10                    Case No. 4:22-cv-06823-JST
                       PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
          Case 4:22-cv-06823-JST Document 173-2 Filed 11/15/23 Page 13 of 13




                                          SERVICE LIST
 1

 2   Annette L. Hurst (State Bar No. 148738)
     ORRICK, HERRINGTON & SUTCLIFFE LLP
 3   ๠e Orrick Building
     405 Howard Street
 4   San Francisco, CA 94105
     Telephone:    415-773-5700
 5
     Facsimile:    415-773-5759
 6   Email:        ahurst@orrick.com
                   Copilot_Litigation_OHS@orrick.com
 7
     Counsel for GitHub, Inc. and Microsoft Corporation
 8

 9   Joseph C. Gratz (State Bar No. 240676)
     MORRISON & FOERSTER LLP
10
     425 Market Street
11   San Francisco, CA 94105
     Telephone: 415-268-7000
12   Facsimile:    415-268-7522
     Email:        jgratz@mofo.com
13                 OpenAIDoeLitigation@mofo.com
14
     Counsel for OpenAI, Inc., OpenAI, L.P., OpenAI GP,
15   LLC, OpenAI OpCo, L.L.C., OpenAI Startup Fund GP I,
     L.L.C, OpenAI Startup Fund I, L.P., and OpenAI Startup
16   Fund Management LLC
17

18

19

20

21

22

23

24

25

26

27

28
                                                   11                     Case No. 4:22-cv-06823-JST
                    PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO OPENAI DEFENDANTS
